Case 16-32021   Doc 132   Filed 07/20/17 Entered 07/20/17 10:22:23   Desc Main
                           Document     Page 1 of 10
Case 16-32021   Doc 132   Filed 07/20/17 Entered 07/20/17 10:22:23   Desc Main
                           Document     Page 2 of 10
Case 16-32021   Doc 132   Filed 07/20/17 Entered 07/20/17 10:22:23   Desc Main
                           Document     Page 3 of 10
Case 16-32021   Doc 132   Filed 07/20/17 Entered 07/20/17 10:22:23   Desc Main
                           Document     Page 4 of 10
Case 16-32021   Doc 132   Filed 07/20/17 Entered 07/20/17 10:22:23   Desc Main
                           Document     Page 5 of 10
Case 16-32021   Doc 132   Filed 07/20/17 Entered 07/20/17 10:22:23   Desc Main
                           Document     Page 6 of 10
Case 16-32021   Doc 132   Filed 07/20/17 Entered 07/20/17 10:22:23   Desc Main
                           Document     Page 7 of 10
Case 16-32021   Doc 132   Filed 07/20/17 Entered 07/20/17 10:22:23   Desc Main
                           Document     Page 8 of 10
Case 16-32021   Doc 132   Filed 07/20/17 Entered 07/20/17 10:22:23   Desc Main
                           Document     Page 9 of 10
Case 16-32021   Doc 132   Filed 07/20/17 Entered 07/20/17 10:22:23   Desc Main
                          Document      Page 10 of 10
